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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
                                  Judge Edward J. Davila
                                   Courtroom 4 - 5th Floor
                             Criminal Minute Order – Jury Trial
                                                             TIME IN COURT:     41 mins
                                                                         (2:34 -3:15 PM)

Date: August 27, 2015                                 U.S. Probation Officer: N/A
Courtroom Deputy: Elizabeth Garcia                    U.S. Pretrial Services Officer: N/A
Court Reporter: Irene Rodriguez                       Interpreter: N/A

CASE NUMBER: 5:15-cr-00226-EJD
TITLE: USA v. Douglas Stroms York (NC)(P)

Government Attorney(s) present: Brianna Penna, Jeff Schenk
Defendant Attorney(s) present: Graham Archer

PROCEEDINGS: Hearing re Jury Instructions

ORDER AFTER HEARING:
Hearing held outside the presence of the jury.
Further Jury Trial set for August 28, 2015 at 09:00




P/NP: Present, Not Present                                                       Elizabeth C. Garcia
C/NC: Custody, Not in Custody                                                    Courtroom Deputy
I: Interpreter                                                                       Original: Efiled
                                                                                                CC:
